      Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 1 of 9




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

NAHID KHATIB,                                  §
                                               §
                      Plaintiff,               §
                                               §
v.                                             §           CIVIL ACTION NO. 4:21-cv-2136
                                               §
ROSS STORES, INC. AND                          §
JEFF JENKINS,                                  §
                                               §
                      Defendants.              §

             DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE AND CLERK OF THE COURT:

       COMES NOW Defendant Ross Stores, Inc. (“Ross”) and files its Notice of Removal. As

grounds for removal, Ross respectfully shows the Court as follows:

A.     DIVERSITY OF CITIZENSHIP

       1.     On May 27, 2021, an action was commenced in the 113th Judicial District Court

in Harris County, Texas entitled, “Nahid Khatib v. Ross Stores, Inc. and Jeff Jenkins,” and

assigned Cause No. 2021-319870 (hereinafter referred to as the “State Court Action”).

       2.     Ross received a copy of Plaintiff’s Original Petition (“Plaintiff’s Petition”) and

was served with process through its registered agent on June 3, 2021. Therefore, in accordance

with 28 U.S.C. § 1446(b)(1), this Notice of Removal is timely filed within 30 days after Ross’

receipt of the initial pleading of Plaintiff Nahid Khatib (“Plaintiff”) setting forth the grounds

upon which removal is based.

       3.     Defendant Jeff Jenkins (“Jenkins”) received a copy of Plaintiff’s Petition and was

served with process by delivery to Jenkins in person on June 2, 2021.

       4.     The State Court Action is removable under 28 U.S.C. §1441(a) and (b). This

Court has original jurisdiction over this action based on complete diversity of citizenship

DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 1
      Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 2 of 9




between the parties and the amount in controversy. At the time that Plaintiff’s Petition was filed

in the State Court Action and at the time of the filing of this Notice of Removal, Ross was and is

diverse in citizenship from Plaintiff.

       5.      Plaintiff resides in Humble, Harris County, Texas and is a citizen of Texas for

purposes of diversity jurisdiction.

       6.      Ross was at the time that the State Court Action was filed and has remained at all

other relevant times, including the date of the filing of this Notice of Removal, a corporation

organized and existing under the laws of Delaware with its principal place of business located in

Dublin, California. Accordingly, Ross is a citizen of Delaware and California, and is not a

citizen of Texas, for purposes of diversity jurisdiction.

       7.      Jenkins, a citizen of the State of Texas, is a party whose citizenship is not

considered in determining diversity of citizenship because Plaintiff’s joinder of Jenkins as a co-

Defendant is improper, or fraudulent, and was done in an attempt to defeat diversity. Therefore,

Jenkins’ citizenship should be disregarded for the purpose of establishing diversity jurisdiction.

Flagg v. Stryker Corp., 819 F.3d 132, 136 (5th Cir. 2016) (when a plaintiff improperly joins a

non-diverse defendant, the court may disregard the citizenship of that defendant and exercise

jurisdiction); Allen v. Walmart Stores, L.L.C., 907 F.3d 170, 183 (5th Cir. 2018) (court may

disregard the citizenship of an improperly joined defendant for purposes of determining whether

the court has subject matter jurisdiction based on diversity).

B.     PLAINTIFF’S IMPROPER JOINDER OF JENKINS AS A DEFENDANT

       8.      Removal jurisdiction is determined based on the claims asserted in the state court

complaint as the pleading exists when the case is removed. A plaintiff cannot defeat removal by

amending his petition. Cavallini v. State Farm Mut. Auto Ins. Co., 44 F.3d 256, 264-65 (5th Cir.

1995); Bourne v. Wal-Mart Stores, Inc., 582 F. Supp. 2d 828, 834 (E.D. Tex. 2008) (court must


DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 2
       Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 3 of 9




base determination of improper joinder on analysis of causes of action alleged in the plaintiff’s

petition at the time of removal).

       9.      A defendant can establish improper joinder in two ways: by showing (a) actual

fraud in the pleading of jurisdictional facts or (b) the inability of the plaintiff to establish a cause

of action against the non-diverse party in state court. Smallwood v. Ill. Cent. R.R. Co., 385 F.3d

568, 573 (5th Cir. 2004). Under the second method, the test for improper joinder is “whether the

defendant has demonstrated that there is no possibility of recovery by the plaintiff against an in-

state defendant, which stated differently means that there is no reasonable basis for the district

court to predict that the plaintiff might be able to recover against an in-state defendant.” Id. The

mere theoretical possibility that the plaintiff may recover from a nondiverse defendant is not

sufficient to preclude a finding of improper joinder; the possibility must be reasonable. Travis v.

Irby, 326 F.3d 644, 648 (5th Cir.2003). As explained below, based on Plaintiff’s allegations in

Plaintiff’s Petition and the law, there is no reasonable possibility that Plaintiff can establish a

negligence claim against Jenkins for which he could be held personally liable to Plaintiff.

       10.     In this personal injury action, Plaintiff, a Retail Associate, seeks recovery from

Ross and Jenkins, Assistant Store Manager, for a job-related injury that Plaintiff alleges occurred

on or about October 21, 2019 (the reported date of the alleged injury is October 20, 2019) at the

store located at 9815A Farm to Market 1960 Bypass Road West in Humble, Texas. When the

incident allegedly occurred, Plaintiff was standing on a stool while she was organizing scarves.

According to Plaintiff, she fell off of the stool and injured her right shoulder and right knee. See

Ex. B-1, Plaintiff’s Petition, p. 2, § IV; Ex. E, Incident Reporting – Job Aid; Ex. F, Employer’s

First Report of Injury.

       11.     Plaintiff alleges in Plaintiff’s Petition that Ross proximately caused the alleged

incident and Plaintiff’s damages as a result of Ross’ negligent acts and/or omissions including,


DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 3
       Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 4 of 9




but not limited, the following: (a) failing to ensure that the premises were safe for invitees and

the public and were free from conditions that posed an unreasonable risk of harm to a person

present on the property; (b) failing to warn or give notice to Plaintiff of any unreasonable risk of

harm to Plaintiff; (c) failing to make the dangerous conditions that caused Plaintiff’s alleged

injuries reasonably safe; (d) failing to inspect, maintain and/or repair the premises; (e) failing to

maintain responsibility regarding protecting invitees, guests, patrons, and the public; and (f)

failing to follow and/or implement safety and health policies, procedures, regulations, and/or

rules that would protect Plaintiff and the public from being harmed or injured. See Ex. B-1,

Plaintiff’s Petition, pp. 3-4, § V.

        12.     Plaintiff has also asserted a negligence claim against Jenkins for the same alleged

job-related incident made the basis of her negligence claim against Ross. In section V of

Plaintiff’s Petition under the subsection entitled, “Negligence: Against All Defendants,” Plaintiff

alleges that Jenkins committed the identical negligent acts and/or omissions as Ross. According

to Plaintiff, Jenkins engaged in the same negligent conduct identified in Plaintiff’s allegations (a)

through (f) that she claims that Ross committed. See Ex. B-1, Plaintiff’s Petition, pp. 3-4, § V.

        13.     In section V of Plaintiff’s Petition under the subsection entitled, “Negligence:

Against Jenkins,” Plaintiff further alleges that Jenkins was negligent because he failed (a) to

ensure that the premises were safe for invitees and the public and were free from conditions that

posed an unreasonable risk of harm to a person present on the property; (b) to adequately hire,

train, and/or supervise personnel on the premises; and (c) to make the dangerous conditions on

the premises reasonably safe. See Ex. B-1, Plaintiff’s Petition, p. 4, § V.

        14.     Plaintiff further alleges that Ross and Jenkins breached the same duty of ordinary

care to Plaintiff as an invitee on the premises of the store. See Ex. B-1, Plaintiff’s Petition, p. 3,

§ V.


DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 4
      Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 5 of 9




       15.     Plaintiff has also pleaded that Jenkins was an employee, agent, or servant of Ross

and that therefore Ross is liable under the doctrine of respondeat superior for Jenkins’ alleged

negligent actions. See Ex. B-1, Plaintiff’s Petition, p. 3, § V.

       16.     Plaintiff cannot establish a negligence claim against Jenkins in his individual

capacity. In Leitch v. Hornsby, the Texas Supreme Court held that although corporate agents and

employees may be held liable for their own acts of negligence under certain circumstances,

individual liability for negligence arises only when the officer, agent, or employee owes an

independent duty of reasonable care to the injured party, including a co-employee, apart from

the employer’s duty. Leitch v. Hornsby, 935 S.W.2d 114, 117 (Tex. 1996). A corporate agent or

employee may not be held individually liable unless he breaches an independent duty of care that

he owed to the injured party that is separate from his employer’s duty. Id.

       17.     Plaintiff also states in Plaintiff’ Petition that she was an invitee who was shopping

at the store when the incident occurred, that Jenkins was the manager of the premises, and that

Jenkins negligently managed the premises. See Ex. B-1, Plaintiff’s Petition, pp. 2-4, §§ IV, V.

Even if Plaintiff was a non-employee invitee on the premises (which is not true), there is no

reasonable possibility that Plaintiff can establish a negligence claim against Jenkins on this basis.

Courts have held that Leitch applies in negligence claims brought by plaintiffs who are non-

employee invitees and that a store or premises manager cannot be held individually liable for his

negligence in performing his duties for his employer. Solis v. Wal-Mart Stores E., L.P., 617 F.

Supp. 2d 476, 481 (S.D. Tex. 2008); Bourne, 582 F. Supp. 2d at 837-38.

       18.     Plaintiff’s Petition contains no allegation that Jenkins owed her any independent

duty of care apart from Ross’ duty to Plaintiff. See Ex. B-1, Plaintiff’s Petition, pp. 2-4, §§ IV,

V. Plaintiff alleges identical negligent acts and omissions by Jenkins and Ross as the cause of

her alleged injury. See Ex. B-1, Plaintiff’s Petition, pp. 3-5, § V. All of Jenkins’ alleged actions


DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 5
      Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 6 of 9




that Plaintiff claims constitute negligence are based on Jenkins’ performance of his duties as an

employee. See Ex. B-1, Plaintiff’s Petition, pp. 3-4, § V. Plaintiff does not contend that Jenkins

took any actions outside of his employment. See Ex. B-1, Plaintiff’s Petition, pp. 3-4, § V.

       19.     Furthermore, Jenkins’ alleged negligence relates to workplace safety. Since the

duty to provide employees with a reasonably safe place to work belongs exclusively to the

employer and is nondelegable, Jenkins owed no duty individually to provide a reasonably safe

workplace to Plaintiff. See Leitch, 935 S.W.2d at 118.

       20.     No allegations have been made that Jenkins was directly involved or participated

in the specific events of the alleged incident. See Ex. B-1, Plaintiff’s Petition, pp. 3-4, §§ IV, V.

       21.     Under these circumstances, Texas law precludes a finding of individual liability

against Jenkins for negligence. Because Plaintiff has not pleaded a viable negligence claim

against Jenkins in the State Court Action and Plaintiff has no reasonable possibility of recovering

against Jenkins individually, the Court should disregard his citizenship in determining diversity

jurisdiction. See Flagg, 819 F.3d at 136 (citizenship of improperly joined non-diverse defendant

disregarded); Allen, 907 F.3d at 183. Since no reasonable basis exists for the Court to predict

that Plaintiff might be able to recover against Jenkins, removal is proper.

C.     THE AMOUNT IN CONTROVERSY EXCEEDS THE $75,000 THRESHOLD.

       22.     The amount in controversy in Plaintiff’s negligence claims, separately and/or

aggregated, exceeds $75,000, exclusive of interest and costs.

       23.     According to Plaintiff, the injuries and damages that she allegedly sustained as a

result of the alleged incident are severe and serious. See Ex. B-1, Plaintiff’s Petition, pp. 2, 4. §

V. As alleged in Plaintiff’s Petition, Plaintiff seeks to recover money damages as compensation

for five different categories of damages for her alleged injury on or about October 20, 2019.

These alleged damages consist of past and future (a) medical expenses, (b) lost wages, (c) loss of


DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 6
       Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 7 of 9




earning capacity, (d) physical pain and mental anguish, and (e) physical impairment. As

indicated in Plaintiff’s Petition, Plaintiff’s damages continue to accrue. Plaintiff seeks monetary

relief in an amount in excess of $250,000 but less than $1,000,000. See Ex. 2-A, Plaintiff’s

Petition, p. 5, § VI.

D.        CONCLUSION

          24.   It is not necessary for Jenkins to consent to removal to this Court because Plaintiff

improperly joined Jenkins as a Defendant in this action. Rico v. Flores, 481 F.3d 234, 239 (5th

Cir. 2007) (improperly joined defendants do not need to consent to removal); Jernigan v.

Ashland Oil Inc., 989 F.2d 812, 815 (5th Cir. 1993). Nevertheless, Jenkins consents to removal.

Jenkins’ consent is evidenced by the signature of his counsel on this Notice of Removal.

          25.   Since this lawsuit is between citizens of different states and the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, this Court has

original jurisdiction pursuant to 28 U.S.C. § 1332(a)(1). Therefore, the State Court Action may

be removed in accordance with 28 U.S.C. § 1441(b).

          26.   Under 28 U.S.C. § 1441(a), venue of a removed action is proper in the district and

division embracing the place where the state court case is pending. Since the State Court Action

is currently pending in the 113th Judicial District Court, Harris County, Texas, removal to the

United States District Court for the Southern District of Texas, Houston Division, is proper.

          27.   In accordance with Local Rule 81 of the United States District Court for the

Southern District of Texas and 28 U.S.C. § 1446(a), in addition to an Index of All Matters Filed

with Defendant Ross Stores, Inc.’s Notice of Removal, the following documents identified below

are appended as Exhibits. The state court judge has not issued any orders in the State Court

Action.




DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 7
       Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 8 of 9




        Exhibit A        All executed process in this case;

        Exhibit B        Pleadings asserting causes of action, e.g., petitions, counterclaims, cross
                         actions, third-party actions, interventions, and all answers to such
                         pleadings;

        Exhibit C        State court docket sheet;

        Exhibit D        A list of all counsel of record, including address, telephone numbers and
                         parties represented;

        Exhibit E        Incident Reporting – Job Aid; and

        Exhibit F        Employer’s First Report of Injury.

        28.     As required by 28 U.S.C. §1446(d), Ross will give written notice to Plaintiff of

this Notice of Removal. A Notice of Removal to Federal Court, including a copy of this Notice

of Removal and the exhibits appended hereto, will be filed with the Harris County District Clerk

for the 113tth Judicial District Court, Harris County, Texas.

        29.     Plaintiff demanded a jury trial in Plaintiff’s Petition. See Ex. B-1, Plaintiff’s

Petition, p. 5, § VII.

        WHEREFORE, PREMISES CONSIDERED, Defendant Ross Stores, Inc. requests that

the Court assume full jurisdiction of this cause as if it had been originally filed in this Court, that

further proceedings in the State Court Action be stayed, and for such other and further relief, at

law or in equity, general or special, to which Ross may be justly entitled.




DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 8
      Case 4:21-cv-02136 Document 1 Filed on 06/30/21 in TXSD Page 9 of 9




                                                Respectfully submitted,




                                                By: /s/ William O Ashcraft
                                                    William O Ashcraft, Esq.
                                                    Attorney-in-Charge
                                                    State Bar No. 01372800
                                                    Southern District of Texas Bar No. 11654

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                                                    ATTORNEYS FOR DEFENDANTS
                                                    ROSS STORES, INC. AND JEFF
                                                    JENKINS

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing Defendant Ross
Stores, Inc.’s Notice of Removal was served via the electronic case filing system upon counsel of
record for Plaintiff on the 30th day of June 2021, as follows:

       Brent M. Cordell, Esq.
       Antone L. Peterson, Esq.
       SMITH & HASSLER
       1225 North Loop West, Suite 525
       Houston, Texas 77006
       Email/E-Service: cordell@smithandhassler.com



                                                    /s/ William O Ashcraft
                                                    William O Ashcraft




DEFENDANT ROSS STORES, INC.’S NOTICE OF REMOVAL – Page 9
